             Case 2:20-cv-00593-BJR Document 18 Filed 05/06/20 Page 1 of 10




 1                                                      HONORABLE BARBARA J. ROTHSTEIN
 2

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
     IN RE SUBPOENA TO JIMMY NGUYEN
 9   _______________________________________
                                                         CASE NO. 20-cv-00593-BJR
10   IRA KLEIMAN, as the personal representative
     of the Estate of David Kleiman; and W&K Info        NON-PARTY JIMMY NGUYEN’S
11   Defense Research, LLC,                              MOTION TO FILE UNDER SEAL
                                                         EXHIBIT TO RESPONSE TO
12                  Plaintiffs,                          PLAINTIFFS’ SECOND MOTION
                                                         TO COMPEL
13          v.
14   CRAIG WRIGHT,                                       WITHOUT ORAL ARGUMENT
15                  Defendant.
16
            Pursuant to LCR 5(g)(3), Non-Party Deponent Jimmy Nguyen respectfully requests that
17
     the Court seal Mr. Nguyen’s April 30, 2020 deposition transcript in support of his Response to
18
     Plaintiff’s Second Motion to Compel (“Response”).         Alternatively, Mr. Nguyen requests
19
     permission to submit his deposition to the Court in camera.
20
                                            CERTIFICATION
21
            Pursuant to LCR 5(g)(3)(A), counsel for Nguyen certifies that they contacted counsel
22
     for Kleiman, on May 5, 2020, seeking to confer on the need for these documents to be filed
23
     under seal. Counsel responded that it is Kleiman’s position that the transcript does not need to
24

25
     NON-PART Y JIMMY NGUYEN’S MOTION TO FILE                         Williams, Kastner & Gibbs PLLC
     UNDER SEAL EXHIBIT TO RESPONSE TO                                601 Union Street, Suite 4100
     PLAINTIFFS’ SECOND MOTION TO COMPEL                              Seattle, Washington 98101-2380
                                                                      (206) 628-6600
     (USDC Case No. 20-cv-00593-BJR)
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 1   be filed under seal. 1

 2                                                INTRODUCTION

 3              The public’s right to inspect judicial records is not absolute. While there is a strong

 4   presumption in favor of public access, this right cannot overcome privacy interests in

 5   protecting trade secrets, intellectual property, confidential financial information, and personal

 6   identifying information from public disclosure. Non-party deponent, Jimmy Nguyen, requests

 7   that his deposition transcript, submitted in support of his Response to Plaintiffs’ non-

 8   dispositive second motion to compel, be filed under seal to protect such confidential

 9   information from public disclosure.

10                                           STATEMENT OF FACTS

11              Mr. Nguyen was compelled to produce documents and sit for a deposition as a non-

12   party witness in litigation currently pending in the United States District Court for the Southern

13   District of Florida. 2 On April 29, 2020, Mr. Nguyen served his Response to Plaintiffs’

14   Document Subpoena and produced 1,692 pages of responsive documents. The following day,

15   Mr. Nguyen sat for his video-deposition and testified for seven hours. The only questions Mr.

16   Nguyen was instructed not to answer concerned litigation-related communications with Dr.

17   Wright, Dr. Wright’s counsel, and the nChain Group of companies.

18              Mr. Nguyen’s documents and deposition were designated confidential pursuant to the

19   parties’ Stipulated Confidentiality Order entered in the Florida litigation [DE 105].

20              The Florida litigation involves a number of alleged intellectual property disputes and

21   alleged misappropriation of trade secrets. While serving as CEO of nChain, Mr. Nguyen

22   worked closely with the nChain’s Chief Scientist, Defendant Dr. Wright. In this role, Mr.

23   Nguyen was privy to all manner of confidential propriety information. At deposition, Mr.

24
     1
         See meet and confer email exchange attached hereto as “Ex. A .”
25   2
         See Ira Kleiman, et al. v. Craig Wright, Case No. 9:18-cv-80176-BB/BR.
     NON-PART Y JIMMY NGUYEN’S MOTION TO FILE                                     Williams, Kastner & Gibbs PLLC
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 1   Nguyen was asked also to testify regarding his personal financial information (including his

 2   current salary), his personal identifying information, his personal Bitcoin holdings, nChain’s

 3   confidential proprietary information and intellectual property, nChain’s confidential business

 4   records, and Dr. Wright’s confidential information. The only questions Mr. Nguyen did not

 5   answer (which are the subject of Plaintiff’s Second Motion to Compel), were questions that

 6   implicated privileged attorney-client communications and confidential work product.

 7          Mr. Nguyen’s deposition transcript is now offered in support of his Response to

 8   Plaintiffs’ Second Motion to Compel. The transcript demonstrates Mr. Nguyen’s compliance

 9   with his discovery obligations and his valid refusal to disclose privileged information. Mr.

10   Nguyen requests permission to file the transcript under seal to avoid any unnecessary public

11   disclosure of confidential information on a non-dispositive motion that is tangential to the

12   actual merits of the Florida lawsuit. Alternatively, Mr. Nguyen requests permission to submit

13   his deposition to the Court for in camera review.

14                                              ARGUMENT

15          When determining whether the presumption in favor of public access has been

16   overcome, courts apply two different standards, depending on the type of motion at issue.

17   “[C]ompelling reasons must be shown to seal judicial records attached to a dispositive motion.”

18   Kamakana v. City and Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). For non-

19   dispositive motions, “a particularized showing, under the ‘good cause’ standard of Rule 26(c)

20   will suffice[] to warrant preserving the secrecy of sealed discovery material attached to non-

21   dispositive motions.” Id. (citation omitted) (internal quotations omitted). As the Supreme

22   Court recognized, discovery is largely “conducted in private as a matter of modern practice,”

23   so the public is not presumed to have a right of access to it.            Seattle Times Co. v.

24   Rhinehart, 467 U.S. 20, 33 (1984).

25
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 1          In this instance, good cause is all that is needed to warrant sealing Mr. Nguyen’s

 2   transcript. It is submitted to the Court to justify Mr. Nguyen’s refusal to answer questions that

 3   would reveal privileged attorney-client communications and confidential work product. The

 4   issue of whether Mr. Nguyen should be compelled to answer these questions is completely

 5   tangential to the actual merits of the pending litigation. See Kamakana, 447 F.3d at 1179.

 6   Moreover, the testimony in Mr. Nguyen’s transcript easily meets the “compelling reasons”

 7   standard applied to dispositive motions. Courts routinely find compelling reasons to seal

 8   documents that are “sources of business information that might harm a litigant’s competitive

 9   standing.” In re Elec. Arts, Inc., 298 Fed. Appx. 568, 569 (9th Cir. 2008).

10          Examples of such business-related information include marketing strategies, sales data,

11   development plans, employee compensation plans. See e.g. Bauer Bros. Ltd. Liab. Co. v. Nike,

12   Inc., 2012 WL 1899838 (S.D. Cal. May 24, 2012) (finding compelling reasons to seal because

13   “public disclosure of Nike's confidential business materials, including marketing strategies,

14   sales and retailer data, product development plans, unused prototypes, and deta iled testimony

15   regarding the same, could result in improper use by business competitors seeking to replicate

16   Nike's business practices and circumvent the considerable time and resources necessary in

17   product and marketing development.”); see also Network Appliance, Inc. v. Sun Microsystems

18   Inc., 2010 WL 841274 (N.D. Cal. Mar. 10, 2010) (sealing documents containing internal

19   information about Sun's business and product strategies, the disclosure of which would harm

20   Sun); Hill v. Xerox Corp., 2014 WL 1356212 (W.D. Wash. Apr. 7, 2014) (finding compelling

21   reasons to seal document revealing employee compensation plan).

22          There are also compelling reasons to protect identifying information of non-parties who

23   do not seek to place their private information in the public sphere. Moussouris v. Microsoft

24   Corp., 2018 WL 2016851, at *3 (W.D. Wash. Apr. 16, 2018). Identifying information, such as

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 1   Mr. Nguyen’s personal contact information and compensation are only tangentially related to

 2   this litigation, if at all, and should not be disclosed on the public record. Id. at *5; see also

 3   Spam Arrest, LLC v. Replacements, Ltd., C12-481RAJ, 2013 WL 4478645, at *2 (W.D. Wash.

 4   Aug. 20, 2013) (recognizing a privacy interest in redacting the email addresses of a party’s

 5   customers). While non-party identifying information may eventually become relevant to a

 6   claim, at this stage, revealing Mr. Nguyen’s private information on a motion to determine

 7   whether certain deposition questions are subject to attorney-client privilege is inappropriate.

 8   Delaittre v. Berryhill, 2017 WL 6310483, at *4 (W.D. Wash. Dec. 11, 2017) (“To the extent

 9   the documents discuss or reveal information about third parties not identified in or directly

10   related to the allegations in plaintiff’s complaint, the need for confidentiality is particularly

11   compelling.”). Should such information ultimately be relevant to the merits of the litigation,

12   the information can be unsealed. Kamakana, 447 F.3d at 1179.

13                                        IV.   CONCLUSION

14          Disclosure of Mr. Nguyen’s personal financial information, his personal identifying

15   information, his personal Bitcoin holdings, nChain’s confidential proprietary information and

16   intellectual property, nChain’s confidential business records, and Dr. Wright’s confidential

17   information violates the privacy rights of the stakeholders and would cause them competitive.

18   The compelling interest in protecting this information on a tangential discovery motion far

19   outweighs any right of public access to judicial records. Mr. Nguyen respectfully requests that

20   the Court seal Mr. Nguyen’s deposition transcript or allow it to be submitted to the Court in

21   camera.

22

23          DATED this 6th day of May, 2020.

24

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                                                /s/ Scott B. Henrie
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 3                                              Telephone: (206) 628-6600
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 4
                                                       and
 5
                                                /s/ Spencer H. Silverglate
 6                                              Spencer H. Silverglate, FL Bar No. 769223
                                                Pro Hac Vice Application Pending
 7                                              Trevor Gillum, FL Bar No. 1003867
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11
                                                Attorneys for James “Jimmy” Nguyen,
12                                              Subpoenaed Individual
13

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                             CERTIFICATE OF FILING AND SERVICE
 1

 2          I hereby certify that on May 6, 2020, I electronically filed the foregoing with the Clerk

 3   of the Court using the CM/ECF system which will send notification of such filing to those

 4   registered with CM/ECF.

 5          Further, I hereby certify that on May 6, 2020, I provided the foregoing to following

 6   non-CM/ECF participants via Electronic Mail/Email:

 7                           Counsel for Plaintiffs:
 8
     Emanuel Jacobowitz, WSBA #39991                   Velvel (Devin) Freedman, FL Bar No. 99762
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10   Seattle, WA 98121                                 Miami, FL 33131
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11   Email: manny@CAJlawyers.com                       Email: vel@rcfllp.com; and
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16
     Counsel for Defendant:
17   Amanda McGovern
     Email: amcgovern@riveromestre.com
18
            DATED this 6th day of May, 2020.
19

20                                              /s/ Scott B. Henrie
                                                Scott B. Henrie, WSBA #12673
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24                                              Attorneys for James “Jimmy” Nguyen,
                                                Subpoenaed Individual
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               Exhibit A
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From: Velvel Freedman [mailto:vel@rcfllp.com ]
Sent: Tuesday, May 05, 2020 1:14 PM
To: Spencer Silverglate
Cc: Trevor Gillum; Manny Jacobowitz; Stephen Lagos; Joseph Delich; Henrie, Scott; 'Andres Rivero';
'Amanda McGovern'
Subject: Re: Kleiman v Wright - papers and call

Spencer,

We think it more appropriate to redact the portions that you deem confidential as opposed to
wholesale designating it “confidential.” We’d be happy to review proposed redactions.

-Vel
Velvel (Devin) Freedman
Pa rtn e r
Roche Cyrulnik Freedman LLP
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From: Spencer Silverglate <ssilverglate@cspalaw.com>
Date: Tuesday, May 5, 2020 at 1:11 PM
To: Velvel Freedman <vel@rcfllp.com>
Cc: Trevor Gillum <TGillum@cspalaw.com>, Manny Jacobowitz <manny@caoteam.com>,
Stephen Lagos <slagos@rcfllp.com>, Joseph Delich <jdelich@rcfllp.com>, "Henrie, Scott"
<shenrie@williamskastner.com>, Andres Rivero <arivero@riveromestre.com>, Amanda
McGovern <amcgovern@riveromestre.com>
Subject: RE: Kleiman v Wright - papers and call

Vel,

We intend to file Mr. Nguyen’s deposition transcript under seal in response to
Plaintiffs’ Second Motion to Compel Against Mr. Nguyen. Please let me know by
close of business today if you object.

Thank you,
Spencer




                                         Ex. A - Page 1
                                         to Mtn to Seal
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                                                 Spencer H. Silverglate, Esq.
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                                                                 to Mtn to Seal
